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                     8                                             UNITED STATES DISTRICT COURT
                     9                                            CENTRAL DISTRICT OF CALIFORNIA
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                  11     UNITED STATES OF AMERICA and                            Case No. 09-CV-5013-JFW (JEMx)
                         STATE OF CALIFORNIA, ex rel
                  12     JAMES M. SWOBEN,                                        [Honorable John F. Walter]
                  13                                         Plaintiffs,         JUDGMENT DISMISSING THIRD
                                                                                 AMENDED COMPLAINT
                  14     v.
                  15     SCAN HEALTH PLAN, a California
                         corporation, fka SENIOR CARE
                  16     ACTION NETWORK; SENIOR
                         CARE ACTION NETWORK, a
                  17     business entity, form unknown; SCAN
                         GROUP, a California corporation;
                  18     SECURE HORIZONS, a business
                         entity, form unknown; UNITED
                  19     HEALTHCARE INSURANCE
                         COMPANY, a Connecticut
                  20     corporation; UNITED HEALTHCARE
                         SERVICES, INC., a Minnesota
                  21     corporation; UHIC, a business entity,
                         form unknown; UNITEDHEALTH
                  22     GROUP, a business entity, form
                         unknown; UNITED HEALTHCARE, a
                  23     business entity, form unknown;
                         UNITEDHEALTH, a business entity,
                  24     form unknown; PACIFICARE OF
                         CALIFORNIA, a corporation;
                  25     PACIFICARE LIFE AND HEALTH
                         INSURANCE COMPANY, a
                  26     corporation; and PACIFICARE
                         HEALTH SYSTEMS, a corporation;
                  27     WELLPOINT, a business entity, form
                         unknown; AETNA, a
                  28
H OGAN L OVELLS US
       LLP
  ATTORNEYS AT LAW
    LOS ANGELES
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                     1   business entity, form unknown;
                         HEALTH NET, a business entity, form
                     2   unknown; HEALTHCARE
                         PARTNERS, a business entity, form
                     3   unknown; HEALTHCARE
                         PARTNERS MEDICAL GROUP, a
                     4   business entity, form unknown; and
                         HEALTHCARE PARTNERS
                     5   INDEPENDENT PHYSICIAN
                         ASSOCIATION, a business entity,
                     6   form unknown,
                     7                                       Defendants.
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                  10                  On July 30, 2013 the Court entered an order (Docket No. 133) granting
                  11     without leave to amend the motions filed June 26, 2013 by the following defendants
                  12     (collectively “Defendants”) to dismiss the Third Amended Complaint of Relator
                  13     James M. Swoben:
                  14                  (1)           Defendants Healthcare Partners, LLC, Healthcare Partners Medical
                  15     Group, Inc., and Healthcare Partners Independent Physician Association (Docket
                  16     No. 111);
                  17                  (2)           Defendant Aetna (Docket No. 112);
                  18                  (3)           Defendant WellPoint, Inc. (Docket No. 113);
                  19                  (4)           Defendants United Healthcare Insurance Company, UnitedHealthCare
                  20     Services, Inc., UHIC, UnitedHealth Group, UnitedHealthCare, UnitedHealth,
                  21     PacificCare Health Plan Administrators, UHC of California (f/k/a PacificCare of
                  22     California), PacificCare Life and Health Insurance Company, PacificCare Health
                  23     Systems, and Health Net (Docket No. 114).
                  24                  IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Relator
                  25     James M. Swoben shall take nothing from Defendants or any of them by his Third
                  26     Amended Complaint, and that the Third Amended Complaint be dismissed with
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H OGAN L OVELLS US
       LLP                                                                                    JUDGMENT DISMISSNG THIRD
                                                                             -2-
  ATTORNEYS AT LAW                                                                                 AMENDED COMPLAINT
    LOS ANGELES
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                     1   prejudice regarding Relator James M. Swoben and without prejudice regarding the
                     2   United States of America as to Defendants and each of them.
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                     4   Dated:                     August 5, 2013
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                         _________________
                     6                                               UNITED STATES DISTRICT JUDGE
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                         APPROVED AS TO FORM:
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                         THE ZINBERG LAW FIRM                              O’MELVENY & MYERS LLP
                  12     A Professional Corporation
                  13     THE HANAGAMI LAW FIRM                             By:   /s/ Michael M. Maddigan
                         A Professional Corporation                              Michael M. Maddigan
                  14                                                             Attorneys for Defendant
                         By:          /s/ William K. Hangami                     WellPoint, Inc.
                  15                  William K. Hangami
                                      Attorneys for Plaintiff
                  16                  and Qui Tam Relator
                  17
                  18     HOGAN LOVELLS US LLP                              LATHAM & WATKINS LLP
                  19     By:          /s/ Neil R. O’Hanlon                 By:   /s/ David J. Schindler
                                      Neil R. O’Hanlon                           David J. Schindler
                  20                  Attorneys for Defendants                   Attorneys for Defendants
                                      Healthcare Partners, et al.                United Healthcare Insurance
                  21                                                             Company, et al.
                  22
                  23     GIBSON DUNN & CRUTCHER LLP
                  24     By           /s/ Geoffrey M. Sigler
                                      Geoffrey M. Sigler
                  25                  Attorneys for Defendant
                                      Aetna
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H OGAN L OVELLS US
       LLP                                                                            JUDGMENT DISMISSNG THIRD
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  ATTORNEYS AT LAW                                                                         AMENDED COMPLAINT
    LOS ANGELES
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